               Case 4:23-cv-04155-YGR Document 236-1 Filed 03/27/24 Page 1 of 2



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 9 Attorneys for Attorneys for Federal Defendants
   and Defendant United States of America.
10

11                             IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
12
   CALIFORNIA COALITION FOR WOMEN
13 PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.;
   G.M.; A.S.; and L.T., individuals on behalf of   CASE NO. 4:23-CV-04155-YGR
14 themselves and all others similarly situated,

15                              Plaintiffs
                         v.
16
   UNITED STATES OF AMERICA FEDERAL                 DECLARATION OF ABBIE CZIOK
17 BUREAU OF PRISONS, a governmental entity;
   BUREAU OF PRISONS DIRECTOR
18 COLETTE PETERS, in her official capacity;
   FCI DUBLIN WARDEN THAHESHA JUSINO,
19 in her official capacity; OFFICER
   BELLHOUSE, in his individual capacity;
20 OFFICER GACAD, in his individual capacity;
   OFFICER JONES, in his individual capacity;
21 LIEUTENANT JONES, in her individual
   capacity; OFFICER LEWIS, in his individual
22 capacity; OFFICER NUNLEY, in his individual
   capacity, OFFICER POOL, in his individual
23 capacity, LIEUTENANT PUTNAM, in his
   individual capacity; OFFICER SERRANO, in
24 his individual capacity; OFFICER SHIRLEY, in
   his individual capacity; OFFICER SMITH, in his
25 individual capacity; and OFFICER VASQUEZ,
   in her individual capacity,
26
                      Defendants.
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28 I, Abbie Cziok, declare as follows:
     DECLARATION OF ABBIE C ZIOK
     ISO ADMIN . MOTION TO F ILE UNDER S EAL

30   4:23-CV-04155-YGR                              1
               Case 4:23-cv-04155-YGR Document 236-1 Filed 03/27/24 Page 2 of 2



 1 1. My name is Abbie Cziok, and I am an attorney of record in the above captioned case representing

 2        Federal Defendants and Defendant United States of America.

 3 2. Opposing counsel was not contacted prior to filing this motion, as we are requesting that the

 4        document to be filed under seal be reviewed in camera.

 5 3. Federal Defendants and Defendant United States of America cannot disclose to Plaintiff s the

 6        contents of the document filed under seal to seek their permission on it, as the document contains

 7        highly sensitive information the disclosure of which would be detrimental to operations and security.

 8 4. I declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that the foregoing is true and correct.

 9        Executed this 27th day of March, 2024, at Helena, MT.

10

11                                                        /s/ Abbie Cziok______
                                                          ABBIE J.N. CZIOK
12                                                        Assistant United States Attorney
                                                          District of Montana
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     DECLARATION OF ABBIE C ZIOK
     ISO ADMIN . MOTION TO F ILE UNDER S EAL

30   4:23-CV-04155-YGR                                    2
